                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION



UNITED STATES OF AMERICA,                 :      Case No.: 1:16-po-00047
                                          :
          Plaintiffs,                     :      Bowman, M.J.
                                          :
                                          :
     v.                                   :      ORDER
                                          :
                                          :
ROBERT L. MILLER,                         :
                                          :
          Defendants.                     :


       This matter is before the Court on motion of Defendant for Admission of Attorney

Jonathan G. Hart Pro Hac Vice (doc. 5).

       IT IS HEREBY ORDERED THAT this Motion is GRANTED and Jonathan G. Hart

is hereby admitted to practice pro hac vice as counsel for Defendant pursuant to S. D. Ohio

Civ. R. 83.3(e).

       This order is conditioned upon the applicant’s registration and participation in the

Court’s electronic filing system. See: www.ohsd.uscourts.gov.

       SO ORDERED.



                                   s/Stephanie K. Bowman
                                   Stephanie K. Bowman
                                   United States Magistrate Judge
